                   Case: 1:11-cv-08808 Document #: 6 Filed: 12/12/11 Page 1 of 1 PageID #:87
                     U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good standing of
                                                                                                      this
Court's general bar or be granted leave to appear pro hac vice as provided for by Local Rules 83.12 through
83.14.

KRAFT FOODS GLOBAL, INC., et al.                                                         Case Number:
                         v.

UNITED EGG PRODUCERS, INC., et al.


AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
          KRAFT FOODS GLOBAL, INC., THE KELLOGG COMPANY,
          GENERAL MILLS, INC., and NESTLÉ U.S.A., INC.




NAME                            Jason M. Bradford

SIGNATURE (Use electronic signature if                  the appearance form is fied electronically)
                                f sf Jason M. Bradford
FIRM                            JENNER & BLOCK LLP

STREET ADDRESS                  353 North Clark Street

CITY /ST ATE/ZIP               Chicago, IL 60654-3456

IDNUMBER                        6302455                                                 TELEPHONE NUMBER     312-222-9350


ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? (Enter "Y" or "N")                                         NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? (Enter "Y" or "N")                                        NO


ARE YOU A MEMBER OF THIS COURT'S TRIAL BAR? (Enter "Y" or "N")                                          NO


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? (Enter "Y" or "N")                                    NO


IF THIS IS A CRIMINAL CASE, USE AN "X" TO DESCRIBE YOUR STATUS IN THIS CASE.

RETAINED COUNSEL                                                    APPOINTED COUNSEL
